      Case 4:20-cv-05640-YGR Document 705 Filed 05/18/21 Page 1 of 3



 1   David P. Chiappetta, Bar No. 172099
     DChiappetta@perkinscoie.com
 2   PERKINS COIE LLP
     505 Howard Street, Suite 1000
 3   San Francisco, CA 94105-3204
     Telephone: 415.344.7076
 4   Facsimile: 415.344.7050

 5   Attorneys for Non-Party
     Nintendo of America, Inc.
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11

12   EPIC GAMES, INC.,                          Case No. 4:20-CV-05640-YGR

13                        PLAINTIFF and         NON-PARTY NINTENDO OF AMERICA
                          COUNTER-              INC.’S ADMINISTRATIVE MOTION TO
14                        DEFENDANT,            SEAL PORTIONS OF REDLINED CONTENT
                                                LICENSE AND DISTRIBUTION
15          V.                                  AGREEMENT

16   APPLE, INC.,

17                        DEFENDANT and
                          COUNTER-
18                        CLAIMANT.

19

20

21

22

23

24

25

26

27

28

              NON-PARTY NINTENDO OF AMERICA INC.’S ADMINISTRATIVE MOTION TO SEAL
       Case 4:20-cv-05640-YGR Document 705 Filed 05/18/21 Page 2 of 3



 1           Non-party Nintendo of America Inc. (“NOA”) requests sealing of portions of a redlined

 2   version of Nintendo’s Content License and Distribution Agreement (“CLDA”). Nintendo brings

 3   this motion pursuant to Civil Local Rules 7-11 and 79-5.

 4           On May 12, 2021, the Court ordered Nintendo or Epic to “submit a redline between the

 5   generic version and the [Epic-]specific version” of Nintendo’s CLDA to facilitate the Court’s

 6   consideration of sealing issues. (Dkt. 643 at 6.) In compliance with that order, attached as

 7   Exhibit 1 are highlighted sealed and redacted public versions of a redlined copy of the CLDA that

 8   shows changes made to the generic CLDA to create the specific CLDA executed by Nintendo and

 9   Epic.

10           NOA previously submitted to the Court a version of the Epic-specific CLDA that includes

11   highlighting to indicate portions of the document that it seeks to have sealed. (Dkt. 624-1.) NOA

12   also filed an administrative motion to seal those portions of the document and a supporting

13   declaration. (Dkt. 624; Dkt. 624-4.) NOA seeks to have the same portions of the redlined CLDA

14   sealed for the same reasons as articulated in its previous motion.

15           In some limited circumstances, where Nintendo and Epic agreed on deletions from the

16   generic CLDA, NOA has requested sealing small portions of the Epic-specific CLDA that are the

17   same as the generic CLDA. That approach is intended to prevent a reviewing party from

18   knowing the exact language that the parties agreed to delete. NOA adopted this approach for its

19   sealing requests relating to the following portions of the Epic-specific CLDA: Section 14.2.2,

20   Section 14.4, Exhibit A Section 1.8, Exhibit A Section 5.1, Schedule 1 Section 3.7, and Schedule

21   1 Section 7.

22           NOA respectfully requests that the Court grant this motion.

23
     DATED: May 18, 2021                           s/David Chiappetta                _____
24                                                 David P. Chiappetta, Bar No. 172099
                                                   DChiappetta@perkinscoie.com
25
                                                   Attorneys for Non-Party
26                                                 Nintendo of America Inc.
27

28
                                                     -1-
               NON-PARTY NINTENDO OF AMERICA INC.’S ADMINISTRATIVE MOTION TO SEAL
       Case 4:20-cv-05640-YGR Document 705 Filed 05/18/21 Page 3 of 3



 1                                       CERTIFICATE OF SERVICE

 2                  I hereby certify that on May 18, 2021, I electronically transmitted the attached

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of

 4   Electronic Filing to the CM/ECF registrants in this case.

 5

 6                                                s/ David Chiappetta
                                                  Attorney
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     -2-
              NON-PARTY NINTENDO OF AMERICA INC.’S ADMINISTRATIVE MOTION TO SEAL
